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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                     Case No. 1:08-MD-01928-MIDDLEBROOKS/JOHNSON

    IN RE TRASYLOL PRODUCTS LIABILITY                        ]
    LITIGATION — MDL-1928                                    ]
                                                             ]
    _________________________________________                ]
    This Document Relates to:                                ]
                                                             ]
    LINDA NELSON, as Authorized Representative               ]
    of EMMA FISHER, Cause No. 10-81378;                      ]
    PAMELA WEAVER, as Authorized Representative              ]
    of the Estate of Betty Glenn, Cause No. 10-81399;        ]
    STEPHANIE MEIBURGER, as Authorized                       ]
    Representative of MATTHEW MEIBURGER,                     ]
    Cause No. 10-81349; CLYDE MIKKOLA, as                    ]
    Authorized Representative of the Estate of               ]
    MARIAN MIKKOLA, Cause No. 10-81347;                      ]
    JANICE DUNHAM, as Authorized Representative              ]
    of BERNIE SARTOR, Cause No. 10-81409;                    ]
    OSCAR WALTON, Cause No. 1081315                          ]


                            SIX PLAINTIFFS’ NOTICE OF APPEAL

           Notice is hereby given that LINDA NELSON, as Authorized Representative of EMMA

    FISHER, Cause No. 10-81378, PAMELA WEAVER, as Authorized Representative of the Estate

    of Betty Glenn, Cause No. 10-81399, STEPHANIE MEIBURGER, as Authorized

    Representative of MATTHEW MEIBURGER, Cause No. 10-81349, CLYDE MIKKOLA, as

    Authorized Representative of the Estate of MARIAN MIKKOLA, Cause No. 10-81347, JANICE

    DUNHAM, as Authorized Representative of BERNIE SARTOR, Cause No. 10-81409, OSCAR

    WALTON, Cause No. 1081315 (hereinafter, the “Six Plaintiffs”), hereby appeal to the United

    States District Court of Appeals for the Eleventh Circuit from the U.S. District Court for the

    Southern District of Florida’s Order Denying Plaintiffs’ Verified Motion for Declaration of

    Waiver of Service of Process and Alternative Motion to Extend Time for Service of Process


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    (D.E. 12504) entered in this action on the 9th day of May, 2012, and its subsequent Docket Entry

    Order Denying Six Plaintiffs’ and Plaintiffs’ Steering Committee’s Motion to Show Relief is

    Justified Under Rule 4 to Support Those Six Plaintiffs’ Motion to Extend Time to Serve Process

    (D.E. 12827) entered in this action on the 9th day of July, 2012.



                                                   Respectfully submitted,
                                                   By:



                                                   __/s/ Keith M. Jensen_______________
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                                                   PA Bar No. 201917
                                                   Brandon H. Steffey
                                                   Texas Bar No. 24047207
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                                                   Counsel for Movants




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 6, 2012, that the foregoing document is being served this

    day on all counsel on the attached service list via transmission of Notices of Electronic Filing

    generated by CM/ECF or by electronic mail.




                                                        __/s/ Brandon H. Steffey___________
                                                        Brandon H. Steffey




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                                         SERVICE LIST

                     In re Trasylol Products Liability Litigation – MDL-1928
                      Case No. 08-MD-1928-MIDDLEBROOKS/JOHNSON

                                    United States District Court
                                    Southern District of Florida


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